       Case 2:07-cr-00289-MCE Document 134 Filed 09/21/10 Page 1 of 2


 1   J. Toney
     Attorney at Law
 2   State Bar No. 43143
 3   P.O. Box 1515
     Woodland, California 95776
 4   (530) 666-1908
     yoloconflict@aol.com
 5
     Attorney for Juan Camacho
 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,          )
                                        ) Cr. No. S 07-170 LKK
10           Plaintiff,                 ) Cr. No. S 07-428 LKK
                                        ) Cr. No. S 07-289 LKK
11      v.                              )
                                        ) STIPULATION AND ORDER FOR
12   JUAN CAMACHO, et al                ) CONTINUANCE
                                        ) (Oct 19, 2010 at 9:15 AM
13                                      ) before Judge Karlton)
             Defendant,                 )
14   ___________________________________)
15
16          A status conference is now set for September 21 , 2010.
17     The Pre-Plea report in these cases has just been received and
18   Counsel for the Defendant and an interpreter must travel to the
19   Butte County Jail to review the report with the Defendant.
20
21              For that reason, the parties
22   request the following stipulation be approved.
23        IT IS STIPULATED between the plaintiff, United States of
24   America and the Defendant, by and through their counsel that
25   the Status Conference be continued to October 19, 2010 at 9:15 AM.
26   Time for trial has previously been excluded under the Speedy Trial
27   Act due to complexity and counsel preparation, (Local Codes T2 and
28                                         1
       Case 2:07-cr-00289-MCE Document 134 Filed 09/21/10 Page 2 of 2


 1   T4.   The parties stipulate that such exclusion be continued until
 2   October 19, 2010.
 3
 4
 5 Dated September 19, 2010
 6     s/s CAROLYN DELANEY                        s/s J TONEY
       Carolyn Delaney                             J Toney
 7 First Assistant U.S. Attorney                Attorney for Defendant
 8                                 ORDER
 9         SO ORDERED.
10
     DATED: September 20, 2010
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                         2
